
663 S.E.2d 312 (2008)
CAROLINA BUILDING SERVICES WINDOWS &amp; DOORS, INC.
v.
BOARDWALK, LLC; Miller Building Corporation; Deborah C. Lee; Shannon W. Myers; John C. Czerwinski and Wife, Jeanette M. Czerwinski; Manish G. Patel; Allen H. Van Dyke and Wife, Perry G. Van Dyke; George Cornelson and Wife, Kimberlye F. Cornelson; Afshin Ghazi; and Charles H. Huntley.
No. 444PA06-2.
Supreme Court of North Carolina.
June 11, 2008.
Martin L. White, Greg C. Ahlum, Charlotte, for Boardwalk, LLC, et al.
C. Christopher Osborn, Charlotte, for Individual Unit Owners.
L. Holmes Eleazer, Jr., Charlotte, Fenton T. Erwin, Jr., Lex M. Erwin, for Poindexter.
*313 Prior report: ___ N.C. ___, 658 S.E.2d 924.

ORDER
Upon consideration of the petition filed by Defendants on the 15th day of May 2008 for rehearing of the decision of this Court pursuant to Rule 31, N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
